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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ERUBY ABREGO,                                   )
                                                 )
              Plaintiff,                         )          Case No.
                                                 )
              v.                                 )
                                                 )
 REYNALDO GUEVARA, GERI LYNN                     )
 YANOW, as special administrator of the          )
 ESTATE OF ERNEST HALVORSEN,                     )
 ANTHONY WOJCIK, DANIEL ENGEL,                   )
 JEROME BOGUCKI, RAY SCHALK,                     )
 FRANK CAPPITELLI, the CITY OF                   )
 CHICAGO, ANDREANA TURANO                        )
 MICHIELS, and COOK COUNTY.                      )
                                                 )          JURY TRIAL DEMANDED
              Defendants.                        )

                                        COMPLAINT

       NOW COMES Plaintiff, ERUBY ABREGO, by his attorneys LOEVY & LOEVY, and

complaining of Defendants JEROME BOUGUCKI, FRANK CAPITELLI, DANIEL ENGEL,

REYNALDO GUEVARA, GERI LYNN YANOW, as special administrator of the ESTATE OF

ERNEST HALVORSEN, ANTHONY WOJCIK, RAY SCHALK, the CITY OF CHICAGO,

ANDREANA TURANO MICHIELS, and COOK COUNTY, states as follows:

                                      INTRODUCTION

         1.   Plaintiff Eruby Abrego was wrongly convicted of the 1999 murder of Jose Garcia

and aggravated battery of Julio Lugo. He spent more than two decades in prison for a crime that

he did not commit.

         2.   Plaintiff had nothing to do with the murder. Not one piece of physical evidence

connected Plaintiff to the Garcia and Lugo shooting.
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        3.      Instead, Plaintiff’s arrest, prosecution, and conviction were based on false

evidence knowingly manufactured by notorious Chicago Police Detectives Anthony Wojcik,

Jerome Bogucki, Reynaldo Guevara and Ernest Halvorsen, in concert with the other named

Defendants.

        4.      Among that fabricated evidence were three supposed eyewitness identifications

implicating Plaintiff in the crime. Defendants indicated to the eyewitnesses that they should

identify Plaintiff as the perpetrator.

        5.      In addition, to wrongly convict Plaintiff, Defendants obtained and relied on a

fabricated, involuntary, and false confession they extracted from Plaintiff after a physically and

psychologically abusive interrogation, during which Defendant Wojcik beat Plaintiff

        6.      Defendants obtained and relied upon additional fabricated, involuntary, and false

“statements” of others extracted by force, threats, and false promises as well.

        7.      Finally, throughout the criminal proceedings, Defendants suppressed exculpatory

information, including the fact that they knew that someone other than Plaintiff had committed

the crime.

        8.      On July 20, 2022, after spending 23 years incarcerated for a crime he had not

committed, Plaintiff’s wrongful conviction was vacated, the charges were dismissed, and he was

finally set free.

        9.      Defendants’ misconduct resulting in Plaintiff’s wrongful conviction was just part

of a now well-known pattern of illegal activity perpetrated by Defendants Wojcik, Bogucki,

Guevara, and the other Defendants.




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       10.     Plaintiff is one of at least 39 men and women exonerated after being convicted on

murder charges arising in corrupt homicide investigations conducted by Defendant Guevara and

his fellow Area Five detectives and supervisors.

       11.     The Illinois Appellate Court has called Defendant Guevara “a malignant blight on

the Chicago Police Department and the judicial system.”

       12.     Cook County courts have found that Defendant Guevara “engaged in a pattern

and practice of intimidating, threatening, and influencing witnesses in prior homicide

investigations,” and that Defendant Guevara had told “bald-faced lies” during court testimony

and had “eliminated any possibility of [] being considered a credible witness in any proceeding.”

       13.     In court proceedings, Defendants Guevara, his partner Halvorsen, and their

associates have pleaded their Fifth Amendment right not to incriminate themselves in response to

questions about their misconduct as police officers, and Defendant Guevara has specifically

pleaded his Fifth Amendment right not to incriminate himself on multiple occasions in response

to questions about his misconduct as a police officer, including during the investigation that

caused Plaintiff’s wrongful conviction.

       14.     A month after Plaintiff’s exoneration, on August 9, 2022, having concluded that

convictions obtained by Defendant Guevara cannot stand consistent with due process, Illinois

state prosecutors moved to vacate the convictions of eight additional victims of Defendant

Guevara in an unprecedented mass exoneration of murder convictions.

       15.     Plaintiff was a son and a brother when he was targeted and torn from his family,

framed for a crime he did not commit by Defendants.




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        16.     Plaintiff now seeks justice for the harm that the Defendants have caused and

redress for the incalculable loss of liberty and the terrible hardship that Plaintiff has endured and

continues to suffer as a result of the Defendants’ misconduct.

                                      JURISDICTION AND VENUE
        17.     This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to redress the

Defendants’ tortious conduct and their deprivation of Plaintiff’s rights secured by the U.S.

Constitution.

        18.     This Court has jurisdiction of Plaintiff’s federal claims pursuant to 28 U.S.C. §

1331 and supplemental jurisdiction of his state-law claims pursuant to 28 U.S.C. § 1367.

        19.     Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district. The events and omissions giving rise to Plaintiff’s claims occurred within this judicial

district, including the investigation, prosecution, and trial resulting in Plaintiff’s conviction.

                                              PARTIES

        20.     Plaintiff Eruby Abrego spent 23 years in prison for a murder and shooting he did

not commit.

        21.     At all times relevant to the events described in this complaint, Defendants Jerome

Bogucki, Frank Cappitelli, Daniel Engel, Reynaldo Guevara, Ernest Halvorsen, Anthony Wojcik,

Ray Schalk and other unknown law enforcement officers were police officers in the Chicago

Police Department acting under color of law and within the scope of their employment for the

City of Chicago. These Defendants are referred to collectively as the “Police Officer

Defendants” throughout this Complaint.

        22.     Geri Lynn Yanow, the Special Representative for Ernest Halvorsen, deceased, is

named as a Defendant in her capacity as Special Representative of Ernest Halvorsen, as

successor in interest and to defend this action on behalf of Defendant Ernest Halvorsen.

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       23.     At all times relevant to the events described in this complaint, Defendants Frank

Cappitelli, and other unknown law enforcement officers supervised the Police Officer

Defendants. These Defendants participated in the misconduct alleged in this complaint and also

facilitated, condoned, approved, and turned a blind eye to the misconduct of the Defendants

whom they supervised.

       24.     At all relevant times, Defendant Andreana Turano Michiels, was an Assistant

Cook County State’s Attorney. She conspired with the Police Officer Defendants, prior to the

existence of probable cause to believe Plaintiff had committed a crime, and while acting in an

investigatory capacity. She is referred to as the “Prosecutor Defendant” throughout this

Complaint.

       25.     The City of Chicago is an Illinois municipal corporation that is or was the

employer of the above-named Police Officer Defendants. Each of the individual Defendants

named in this complaint acted at all relevant times as agents or employees of the City of

Chicago. The City of Chicago is liable for all torts committed by the Police Officer Defendants

pursuant to the doctrine of respondeat superior. Additionally, the City of Chicago is responsible

for the policies and practices of the Chicago Police Department.

       26.     Defendant Cook County is a governmental entity within the State of Illinois,

which consists in part of its Cook County State’s Attorney’s Office and was at all relevant times

the employer of the Prosecutor Defendant. Defendant Cook County is a necessary party to this

lawsuit.

       27.     Each and every individual Defendant, known and unknown, acted under color of

law and within the scope of his or her employment at all times relevant to this lawsuit. Each of

the individual Defendants is sued in his or her individual capacity unless otherwise noted.



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                                               FACTS

                                             The Crime

         28.     On the evening of May 22, 1999, Jose Garcia and Ramon Torres (Jose’s nephew)

were sitting in a parked car near the intersection of Belmont and Monticello in Chicago.

         29.     Garcia and Torres were talking to Julio Lugo, and his 10-year-old cousin Isidro

Quinones, who were standing next to the parked car.

         30.     While they were talking, a dark-skinned Latino male wearing a sweatshirt with a

hood pulled over his head shouted gang slogans from across the street and opened fire with a

handgun.

         31.     Garcia, who was sitting in the passenger seat, was struck in the head.

         32.     Torres, who was sitting in the driver seat, ducked down and drove away from the

scene.

         33.     Lugo shielded his young nephew Quinones. Quinones was uninjured. Lugo,

however, was hit once in the shoulder and once in the buttock.

         34.     Torres drove several blocks before pulling over on Milwaukee Avenue, just north

of Belmont.

         35.     Garcia died from the gunshot wound before an ambulance arrived.

         36.     Lugo was taken from the scene to the hospital and discharged several days later.

               Defendants Arrest Juan Parra and Fabricate A Statement From Him

         37.     Lugo was a member of the Latin Kings street gang.

         38.     The shooter was suspected to be a member of the rival Orchestra Albany gang

because, prior to opening fire, he yelled slogans such as “OA love” and “King killer.”




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       39.     Defendants learned that, just before the shooting, Lugo and Quinones had been

riding in a car with Fred Marrero, another Latin King. The three Latin Kings had been

confronted by several members the rival Orchestra Albany gang, who were riding in a gold-

colored Chevy Caprice. The OAs pulled over, shouted gang slogans, and threw bottles at the

Latin Kings’ car.

       40.     Operating on the theory that the OAs involved in this bottle-throwing incident

may also have been responsible for the shooting, Defendants worked to identify those OAs.

       41.     Defendants searched the area for a gold-colored Chevy Caprice, and they found

one that they learned belonged to Juan Parra, who they believed was an OA gang member.

       42.     Detectives Guevara and Halvorsen created a photo array including Juan Parra and

showed it to Torres and Lugo.

       43.     According to Defendants’ reports, neither of them identified anyone in this array.

       44.     Despite having no evidence to arrest him, Defendants arrested Parra and brought

him to Area 5 around 1:30 a.m.

       45.     Defendants interrogated Parra, held him overnight, and polygraphed him.

Defendants told Para he “failed” the polygraph, when they knew, in fact, he could have never

passed because the polygraph was a mechanism for generating false evidence as a poly to obtain

an involuntary inculpatory statement.

       46.     After being held overnight, Defendants fabricated a statement that they attributed

to Parra and forced him to adopt it.

       47.     The coerced and manufactured statement falsely implicated Plaintiff in the murder

of Garcia and shooting of Lugo.




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       48.     According to Defendants, Parra gave a statement that he, “Sef,” “PeeWee,” and

“Cain” drove into Latin King territory, encountered a car containing Latin Kings, and got out of

their car to pursue the Latin Kings, who got away. PeeWee and Cain then returned to Parra’s car,

but Sef did not. Parra pulled into an alley and waited. He heard several shots and saw Sef

running back to the car holding a handgun.

       49.     According to Defendants, Parra identified Sef as Plaintiff, Eruby Abrego, and

Cain as Jeremiah Cain. According to Defendants, they then consulted a CPD database of known

gang members and learned that Nicasio Santiago was known as PeeWee.

       50.     Defendants suppressed that they obtained Parra’s false statement by coercion,

they suppressed all of the circumstances of Parra’s statement, and they suppressed that they had

fabricated that statement. Defendants also suppressed the CPD “database” they claim to have

consulted to identify PeeWee.

      Defendants Arrest Jeremiah Cain and Obtain A Statement From Him By Force

       51.     Next, Defendants arrested Jeremiah Cain.

       52.     Defendants found a handgun in his bedroom.

       53.     Later, Defendants confirmed that this was the weapon used in the shootings.

       54.     Defendants questioned Cain, who provided a story that contradicted the story that

they claimed they had learned from Parra. That story did not implicate Plaintiff in the murder of

Garcia and shooting of Lugo, or Cain for that matter. At most, the statement Defendants’

attributed to Cain said he was given a handgun after the shooting, for which he was not present

or aware of beforehand.




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       55.     Defendants knew that both statements they had “obtained” could not be true.

Rather than honestly continuing their investigation to find the truth, Defendants doubled down

on trying to implicate Plaintiff in the shooting.

       56.     For example, because Cain’s version of events did not match what Parra had said,

Defendants obtained a new statement from Cain by force.

       57.     They interrogated Cain, physically abused him, beat him, told him what to say,

and fed him the story they attributed to Parra, so that the statement they would have Cain sign

would better match the story they had fabricated from Parra.

       58.     As a result of this misconduct, Plaintiff now emerged in the story attributed to

Cain. Instead, Defendants documents assert that Cain now described a meeting in Koz Park with

Plaintiff, Santiago, and Parra. In the new version of events, Cain got the handgun and gave it to

Plaintiff, and Plaintiff now went to find the Latin Kings’ car while the others waited in an alley.

In this new version of events, Cain heard several gunshots, after which Plaintiff returned to the

car and gave the handgun back to Cain.

       59.     Defendants forced Cain to give this false statement they had fabricated to a court

reporter.

       60.     Defendants suppressed that they obtained the false statement attributed to Cain by

force, they suppressed the totality of the circumstances of Cain’s statement, and they suppressed

that they had fabricated that statement.

                                Defendants Arrest Plaintiff and Santiago

       61.     Two days after the shooting, on Wednesday, March 24, 1999, Defendants arrested

Plaintiff and Santiago.




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       62.     They arrived at Plaintiff’s sister’s home without a warrant, broke down the door,

and entered with guns drawn, forcing everyone in the house onto their knees.

       63.     Defendants asked Plaintiff to identify himself, which he did.

       64.     Defendants told Plaintiff, “You know what you did.” Plaintiff responded that he

did not know what they were talking about.

       65.     In response, Defendant Wojcik hit Plaintiff twice in the face.

       66.     Plaintiff was taken to Area Five.

       67.     Nicasio Santiago was also in the home.

       68.     Defendants arrested him as well, and they took him to Area Five.

                Defendants Torture Plaintiff and Obtain A False Confession

       69.     At Area Five, Defendants placed Plaintiff in a small interrogation room.

       70.     They chained him to the wall.

       71.     Defendants left Plaintiff in the room alone for an hour and a half. They did not

give him food or water. They did not let him use the restroom. They did not read him his rights.

They did not provide him the opportunity to talk with an attorney, even after he asked for an

attorney.

       72.     When Defendants returned to the interrogation room, they asked Plaintiff whether

he had been involved in the shooting, and he told them truthfully that he had nothing to do with

the crime.

       73.     Throughout the early stages of the interrogation, Plaintiff continually maintained

his innocence and told them he knew nothing about the shooting.

       74.     Defendants refused to accept the truth of Plaintiff’s innocence.




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       75.     Defendants instead initiated a coercive interrogation of Plaintiff, during which

Plaintiff was physically and psychologically abused and mistreated.

       76.     For example, Defendants demanded that Plaintiff confess to the crime.

       77.     When Plaintiff denied any involvement, Defendant Wojcik began to beat Plaintiff.

He punched Plaintiff in the ribs, back, and chest. Defendant Wojcik hit Plaintiff approximately

20-25 times. Then he left the room.

       78.     Defendants left Plaintiff in the interrogation room alone, chained to the wall, for a

few more hours. Again, they did not give him food or water. They did not let him use the

restroom. They did not read him his rights. They did not provide him the opportunity to talk with

an attorney, even after he asked for an attorney.

       79.     When Defendants returned to the room, they told Plaintiff he was going to rot in

jail, telling him falsely that other witnesses had implicated him. Defendants showed Plaintiff

statements purportedly provided by Cain and Para. Then they left the room again.

       80.     When Defendants returned, they took Plaintiff and placed him in a lineup. After

the lineup, he was returned to the interrogation room.

       81.     Plaintiff was left in the interrogation room alone overnight. He was chained to the

wall the entire time. Again, Defendants did not give him food. They did not let him use the

restroom. They did not read him his rights. They did not provide him the opportunity to talk with

an attorney, even after he asked for an attorney.

       82.     During the night, Plaintiff cried out because he needed to use the bathroom.

Defendants did not remove the restraints or allow him to leave the interrogation room. Plaintiff

was forced to urinate in the interrogation room.




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        83.     When Defendant Wojcik returned to the interrogation room, he saw the urine and

got angry at Plaintiff.

        84.     Defendant Wojcik hit Plaintiff approximately 20 times again, while Plaintiff was

chained to the wall. Defendant Wojcik then left the room again.

        85.     Plaintiff was in pain through the night.

        86.     In the early morning hours of Friday, March 26, Defendants returned once more.

        87.     At that point, Plaintiff had not eaten since his arrest days earlier. He was in pain.

He felt like he had to vomit.

        88.     Plaintiff told Defendants he needed medical attention.

        89.     Defendants took Plaintiff to the bathroom. Plaintiff threw up, and his vomit was

bloody. Plaintiff showed Defendants that there was blood in his vomit, and he asked them to take

him to the hospital.

        90.     Defendants told him words to the effect of, “just tell me what I want to hear, and

I’ll take you wherever you want to go.”

        91.     Plaintiff felt increasingly helpless and alone after numerous rounds of threats and

violence against him perpetrated by Defendants.

        92.     In fear for his life and further torture and abuse from Defendants, Plaintiff's will

was overborne and Plaintiff agreed to provide a statement, in which he confessed to committing

the shooting.

        93.     At the time that he adopted Defendants’ false statement, it was obvious that

Plaintiff had been severely abused by police. There were bruises showing on his body. His

underwear was soiled because he had urinated on himself while detained at night. There were

visible cuts on his chest. He reported throwing up blood.



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          94.    The statement simply repeated what Defendants told him to say—i.e., going along

with the false statements they had manufactured from others.

          95.    In fact, the transcript of the final version of the statement Defendants fabricated

and attributed to Plaintiff consists largely of Defendant Turano Michiels reciting Defendants’

version of events and asking Plaintiff to confirm that version of events.

          96.    Defendant Turano Michiels was present while Plaintiff’s interrogation was

ongoing and participated personally in fabricating the false incriminating statement that Plaintiff

was forced to sign.

          97.    The statement was false. It was obviously false on its face. It was manufactured

by Defendants. And Plaintiff only adopted it as his own because Defendants tortured him.

          98.    Plaintiff’s statement coerced by violence and psychological coercion, was

manufactured by Defendants, and was used to prosecute and convict Plaintiff of a crime he did

not commit.

    Defendants Concoct False Witness Misidentifications and False Witness Statements

          99.    The Police Officer Defendants’ efforts to frame Plaintiff did not stop there. These

Defendants also concocted eyewitness identifications implicating Plaintiff in the crime.

          100.   Defendants also obtained false identifications of Plaintiff using suggestive

identification procedures.

          101.   The witnesses to the crime described a perpetrator of a different height, weight,

and skin complexion than Plaintiff.

          102.   Witnesses described the shooter as a “black Hispanic” and between 5’7” and 6’ in

height.

          103.   Plaintiff, however, was light-skinned and very short—between 5’3”-5’5”.



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        104.     Defendants knew that Plaintiff was not the real killer, and they knew that Plaintiff

did not match the description of the real killer.

        105.     But Defendants nonetheless instructed the victim Julio Lugo and eyewitnesses

Ramon Torres and Isidro Quinones to misidentify Plaintiff as the shooter.

        106.     Defendants put together a highly suggestive lineup, which consisted almost

entirely of their suspects in the crime, including Plaintiff.

        107.     After viewing this suggestive lineup, Quinones and Torres both misidentified

Plaintiff as the shooter, according to Defendants’ reports.

        108.     However, Defendants told Quinones and Torres that they should identify Plaintiff

in the lineup.

        109.     Defendants showed Lugo a different lineup after being released from the hospital

three days after the shooting.

        110.     Lugo did not make any identification of Plaintiff in the lineup.

        111.     Lugo did not make any identification because he never saw the shooter clearly

and had no idea who committed the crime.

        112.     However, by the time of trial, Defendants had convinced Lugo to identify

Plaintiff.

        113.     Defendants told Lugo that Plaintiff had committed the crime, that they had the

guy who did it, that he had confessed, and that the guy was Plaintiff.

        114.     Julio Lugo, Ramon Torres, and Isidro Quinones went on to misidentify Plaintiff

as the shooter at trial.




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        115.      Lugo has said that he identified Plaintiff as the shooter because “the police came

and said ‘this guy did it,’” and they said “‘we got the guy, it’s this guy.’” Lugo “just went by

what the police said.” He said, “I really don’t know who did it.”

        116.      Similarly, Torres has explained that “the kid, Abrego, didn’t do it,” that the police

told him to identify and implicate Plaintiff, and “the real guy is still out there.”

                        Plaintiff’s Wrongful Conviction and Imprisonment

        117.      As a result of Defendants’ misconduct, in September 2004, Plaintiff was tried in

and convicted in the Circuit Court of Cook County of first-degree murder and aggravated battery

with a firearm.

        118.      The State’s case hinged upon the false confession they had extracted from

Plaintiff by force, the fabricated statements of third parties, and the misidentifications of Julio

Lugo, Ramon Torres, and Isidro Quinones, which had been manufactured by Defendants.

        119.      There was no physical evidence of any kind linking Plaintiff to the crime. In fact,

Plaintiff was excluded as the person who had left a fingerprint on the gun used in the shooting.

        120.      Plaintiff testified in his own defense at trial, saying that he was not involved in the

shooting. He testified about the torture that he had endured.

        121.      The State mocked Plaintiff’s defense during closing arguments in the criminal

trial, calling it “the biggest frameup, the big conspiracy to get Eruby Abrego,” and telling the

jury that Plaintiff’s testimony was “hogwash” and “should insult you.” In fact, what Plaintiff said

Defendants had done to him was true.

        122.      Without the false confession and the fabricated witness statements and

identifications, Plaintiff would never have been convicted.




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       123.      Nonetheless, Plaintiff was found guilty of first-degree murder was sentenced to 90

years in prison.

       124.      Because of the Defendants’ misconduct, Plaintiff’s opportunity to know his

family and make a life with them was taken away. He lost decades of time where he was not with

his family. Plaintiff’s relationships with his family were extraordinarily harmed.

       125.      Plaintiff was stripped of his young adulthood and deprived of opportunities to

gain an education, to engage in meaningful labor, to develop skills and a career, and to pursue his

interests and passions. Plaintiff has been deprived of all of the basic pleasures of human

experience, which all free people enjoy as a matter of right, including the freedom to live one’s

life as an autonomous human being.

       126.      Plaintiff never knew whether the truth would come out or whether he would ever

be exonerated.

       127.      Plaintiff spent 23 years in prison before being released.

       128.      In addition to the severe trauma of wrongful imprisonment and Plaintiff’s loss of

liberty, the Defendants’ misconduct continues to cause Plaintiff extreme physical and

psychological pain and suffering, humiliation, constant fear, anxiety, deep depression, despair,

rage, and other physical and psychological effects.

                                       Plaintiff’s Exoneration

       129.      For decades, Plaintiff maintained his innocence and fought consistently for his

freedom.

       130.      In July 2022, the Cook County Circuit Court vacated Plaintiff’s conviction. The

State entered a motion of nolle prosequi on the remaining count against Plaintiff and dismissed

all charges against him.



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        131.    At the time of his exoneration, Plaintiff had been fighting the false charges against

him for approximately half of his life.

                     Chicago’s Policy and Practice of Wrongly Convicting
                      Innocent Persons in Violation of the Constitution

        132.    The City of Chicago and the Chicago Police Department are responsible, by

virtue of their official policies, for inflicting miscarriages of justice in scores of criminal cases

like the one endured by Plaintiff.

        133.    Since the 1980s, no fewer than 100 cases have come to light in which Chicago

police officers fabricated false evidence and/or suppressed exculpatory evidence in order to

cause the convictions of innocent persons for serious crimes they did not commit.

        134.    These cases include many in which Chicago police officers used the same tactics

that Defendants employed against Plaintiff in this case, including but not limited to fabricating

evidence, concealing exculpatory evidence, coercing confessions and statements through

physical and psychological abuse, manipulating witnesses in order to influence eyewitness

identifications and testimony, and using other tactics to secure the arrest, prosecution, and

conviction of a person without probable cause and without regard for the person’s actual guilt or

innocence.

        135.    At all relevant times, members of the Chicago Police Department, including the

Defendants in this action, routinely fabricated and manipulated identification procedures to

procure suspect identifications that they knew to be inaccurate.

        136.    At all relevant times, members of the Chicago Police Department, including the

Defendants in this action, systematically suppressed exculpatory and/or impeaching material by

intentionally secreting discoverable reports, memos, and other information. This concealed

material was kept in files that were maintained only at the Chicago Police Department and never

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disclosed to the participants of the criminal justice system. As a matter of widespread custom and

practice, these clandestine files were withheld from the State’s Attorney’s Office and from

criminal defendants, and they were routinely destroyed or hidden at the close of the investigation

rather than being preserved as part of the official file.

        137.    Consistent with the municipal policy and practice described in the preceding

paragraph, employees of the City of Chicago, including the named Defendants, concealed

exculpatory evidence from Plaintiff.

        138.    The existence of this policy and practice of suppressing exculpatory and/or

impeaching material in clandestine files was established and corroborated in the cases of, inter

alia, Rivera v. Guevara, No. 12 C 4428 (N.D. Ill.), Fields v. City of Chicago, No. 10 C 1168

(N.D. Ill.), and Jones v. City of Chicago, No. 87 C 2536 (N.D. Ill.).

        139.    The policies and practices of file suppression at issue in Fields applied throughout

the timeframe from the 1980s through the 2000s, including at the time of the investigation at

issue here.

        140.    In addition, a set of clandestine files related to Area Five homicides—the same

Detective Division involved in this case—was found in the case of Rivera v. Guevara, No. 12 C

4428 (N.D. Ill.). Those files, for a period in the 1980s and 1990s, contained exculpatory and

impeaching evidence not turned over to criminal defendants.

        141.    The policy and practice of suppressing exculpatory and/or impeaching material

evidence was alive and well at all relevant times, including at the Area Five Detective Division

during the investigation at issue here.

        142.    In addition, the City of Chicago and the Chicago Police Department routinely

used illegal tactics, including torture, physical coercion, and psychological coercion, to extract



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involuntary and false confessions and statements from suspects and witnesses. There are well

over 250 documented cases of Chicago Police officers using torture and coercion to illegally

obtain confessions in homicide cases. The City had notice of this widespread practice of

procuring false and coerced confessions long before the events at issue in this case.

       143.     Moreover, the City of Chicago and the Chicago Police Department routinely

failed to investigate cases in which Chicago police detectives recommended charging an

innocent person with a serious crime, and no Chicago police officer has ever been disciplined as

a result of his misconduct in any of those cases.

       144.     Prior to and during the period in which Plaintiff was falsely charged and

convicted, the City of Chicago also operated a dysfunctional disciplinary system for Chicago

police officers accused of serious misconduct. The City almost never imposed significant

discipline against police officers accused of violating the civil and constitutional rights of

members of the public. Further, the disciplinary apparatus had no mechanism for identifying

police officers who were repeatedly accused of engaging in misconduct.

       145.     For instance, multiple witnesses have come forward with evidence that Defendant

Guevara was part of Miedzianowski's criminal enterprise. Defendant Guevara and

Miedzianowski worked together in gang crimes before Defendant Guevara became homicide

detective. Defendant Guevara used his status as a detective to advance the criminal drug

enterprise he participated in with Miedzianowski, and to pressure drug dealers that did not do

their bidding. Guevara's assistance included working with Miedzanowski to pin murders on

innocent men.

       146.     In the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill), a federal jury in

Chicago returned a Monell verdict against the City, finding that the City was responsible for



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maintaining a code of silence and a deeply flawed disciplinary system that allowed Chicago

police officers (operating out of the very same police facilities as the Defendant Officers in this

case) to operate a far-reaching, long-running criminal enterprise that included the subversion of

homicide investigations.

        147.    The Klipfel plaintiffs were two former federal agents from the Bureau of Alcohol,

Tobacco and Firearms who brought allegations of rampant criminal misconduct among Gang

Crimes officers to the attention of CPD officials. The evidence in that litigation included: Philip

Cline, an Area Commander and future Chief of Detectives and Superintendent, personally filed

two Internal Affairs complaints against Miedzianowski for tampering in homicide investigations,

that resulted in no discipline whatsoever; and that Raymond Risley, an assistant deputy

superintendent and head of Internal Affairs, not only knew about misconduct in homicide cases

but actively participated in efforts to subvert the disciplinary investigation into Miedzianowski

that was at the heart of the Klipfel litigation.

        148.    As a matter of both policy and practice, municipal policy makers and department

supervisors condoned and facilitated a code of silence within the Chicago Police Department,

which has been acknowledged by leaders of the Chicago Police Department and elected officials

in Chicago. In accordance with the code of silence, officers refused to report and otherwise lied

about misconduct committed by their colleagues, including the misconduct at issue in this case.

        149.    As a result of the City of Chicago’s established practices, officers (including the

Defendants here) have come to believe that they may violate the civil rights of members of the

public and cause innocent persons to be charged with serious crimes without fear of adverse

circumstances. The practices that enable this belief include failing to track and identify police

officers who are repeatedly accused of serious misconduct, failing to investigate cases in which



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the police are implicated in a wrongful charge or conviction, failing to discipline officers accused

of serious misconduct, and facilitating a code of silence within the Chicago Police Department.

As a result of these policies and practices of the City of Chicago, members of the Chicago Police

Department act with impunity when they violate the constitutional and civil rights of citizens.

       150.    This belief extends to the Defendants in this case. By way of example, Defendant

Guevara has a long history of engaging in the kind of investigative misconduct that occurred in

this case. There are dozens of known cases in which Guevara and other Chicago police officers

engaged in serious investigative misconduct similar to that described above. They engaged in

such misconduct because they had no reason to fear that the City of Chicago and its Police

Department would ever discipline them for doing so.

       151.    The City of Chicago and its Police Department also failed in the years prior to the

Plaintiff’s wrongful conviction to provide adequate training to Chicago police detectives and

other officers in many areas, including the following:

       a.     The conduct of live lineup, photographic, and other identification procedures.

       b.     The constitutional requirement to disclose exculpatory evidence, including how to

              identify such evidence and what steps to take when exculpatory evidence has been

              identified in order to ensure that the evidence is made part of the criminal

              proceeding.

       c.     The need to refrain from physical and psychological abuse, and manipulative and

              coercive conduct, in relation to suspects and witnesses.

       d.     The risks of wrongful conviction and the steps police officers should take to

              minimize risks.

       e.     The risks of engaging in tunnel vision during investigation.



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       f.     The need for full disclosure, candor, and openness on the part of all officers who

              participate in the police disciplinary process, both as witnesses and as accused

              officers, and the need to report misconduct committed by fellow officers.

       152.    The need for police officers to be trained in these areas was and remains obvious.

The City’s failure to train Chicago police officers as alleged in the preceding paragraph caused

Plaintiff’s wrongful conviction and his injuries.

       153.    The city’s failure to train, supervise, and discipline its officers, including the

Police Officer Defendants, condones, ratifies, and sanctions the kind of misconduct that the

Defendants committed against Plaintiff in this case. Constitutional violations such as those that

occurred in this case are encouraged and facilitated as a result of the City’s practices and de facto

policies, as alleged above.

       154.    The City of Chicago and final policymaking officials within the Chicago Police

Department failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated the unlawful

practices and ensured that no action would be taken (independent of the judicial process) to

remedy Plaintiff’s ongoing injuries.

       155.    The policies and practices described in the foregoing paragraphs were also

approved by the City of Chicago policymakers, who were deliberately indifferent to the

violations of constitutional rights described herein.

                  Defendant Wojcik’s History of Framing Innocent Persons

       156.    Defendant Wojcik has a long history of engaging in precisely the kind of

investigative misconduct that occurred in this case, including obtaining false eyewitness

identifications through manipulated identification procedures, manipulating witnesses,

fabricating evidence, suppressing exculpatory evidence, and coercing false confessions and false
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statements from suspects and witnesses using physical and psychological violence, all in the

course of maliciously prosecuting innocent persons. In addition to the cases in which individuals

have been exonerated, there are dozens of other identified cases in which Defendant Wojcik

engaged in serious investigative misconduct.

       157.    Given this extensive history of misconduct and the City of Chicago’s failure to

meaningfully supervise or discipline Wojcik and others, it is apparent that Wojcik engaged in

such misconduct because he had every reason to believe that the City of Chicago and its Police

Department condoned his behavior.

       158.    A few examples of Defendant Wojcik’s misconduct include:

       a.      In On June 30, 1988, the FBI registered a complaint against Defendant Wojcik with

               the Chicago Police Department’s Office of Professional Standards (“OPS”). The

               FBI complaint reported that Defendant Wojcik and another officer were under

               investigation for alleged extortion of a weapon from a F.B.I. informant. The FBI

               report detailed how Defendant Wojcik arranged, under FBI surveillance, for an

               illegal transfer of a rifle with a telescopic sight was an informant to Defendant

               Wojcik. An OPS investigation into the found that Defendant Wojcik had failed to

               properly inventory recovered property and had made a “false report” about this

               incident.

       b.      On March 21, 1988, Defendant Wojcik engaged in misconduct when he forced his

               way into a suspect’s home, verbally abused the person, and also slapped the suspect

               several times in the head and kicked him in the body.

       c.      In September 1989, Defendant Wojcik and others officer engaged in misconduct

               when they physically and verbally abused a citizen. This included yelling “I am



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        going to break your fucking arm” and proceeding to twist his arm behind his back

        until his elbow fractured. It also included throwing him to the ground and kicking

        him.

  d.    In October 1989, Defendant Wojcik engaged in misconduct when he searched a

        citizen’s apartment without permission or lawful justification and was verbally

        abusive.

  e.    In November 1989, Defendant Wojcik engaged in misconduct when he pointed a

        gun at a citizen, struck his car with a squad car, threw him and another individual

        to the ground, kicked him and another individual in the face, and punched him and

        two others in the face.

  f.    In March 1991, Defendant Wojcik engaged in misconduct when he punched a

        citizen in the face during an arrest and while he was being held in an interrogation

        room. The citizen required medical attention at a hospital. Defendant Wojcik

        admitted to investigators that he struck the citizen in the face.

  g.    In September 1991, Defendant Wojcik used excessive force on Gilbert Renslow.

  h.    In February 1992, Defendant Wojcik engaged in misconduct when he entered a

        woman’s apartment without a search warrant or permission while searching for a

        suspect.

  i.    In October 1992, Defendant Wojcik engaged in misconduct when he and another

        detective entered a woman’s apartment without a search warrant or permission.

  j.    In December of 1992, Defendant Wojcik beat Roosevelt Myles and attempted to

        force him to falsely confess to a crime that he did not commit. Defendant Wojcik

        beat Mr. Myles with a phone book and a flashlight while Mr. Myles was handcuffed



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        to a wall and “kept slapping [him] until [he] said [he] will sign a statement.”

        Defendant Wojcik likewise coerced witnesses into falsely identifying Mr. Myles.

  k.    On July 2, 1994, Defendant Wojcik engaged in misconduct when he verbally

        abused and threatened a citizen during a traffic stop. Wojcik used his police car to

        push the complainant’s car into a tree.

  l.    In August 1994, Defendant Wojcik engaged in misconduct when he broke into his

        ex-girlfriend’s home and struck a man inside the home in the man’s head and face

        with a steel pipe-wrench and damaged various items of property. The man lost two

        dental caps in the beating. Defendant Wojcik was criminally charged with battery.

  m.    In January 1995, Defendant Wojcik engaged in misconduct when he entered a

        woman’s apartment without a search warrant or permission and had pointed a gun

        at her.

  n.    On February 10, 1995, Defendant Wojcik engaged in misconduct when he came

        entered and searched a woman’s home without a warrant, and choked her and threw

        her to the ground. The citizen required medical attention from a hospital for her

        injuries.

  o.    In April 1995, Defendant Wojcik used physical force and threats to coerce a false

        confession out of Angel Rosado. When Rosado said he did not know anything about

        the homicide Defendant Wojcik was asking about it, Defendant Wojcik repeatedly

        hit and choked Rosado.

  p.    In May of 1995, Defendant Wojcik engaged in misconduct when he helped

        Defendant Guevara and others frame Thomas Sierra for a murder he did not

        commit. Mr. Sierra was exonerated in January 2018.



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  q.    In June 1995, Defendant Wojcik and other officers engaged in misconduct when

        they abused a woman by pushing, punching, and kicking her in the stomach as they

        forced their way into her residence.

  r.    In January 1996, Defendant Wojcik engaged in misconduct when he and others

        entered a woman’s apartment without a warrant in search of a suspect.

  s.    In February 1996, Defendant Wojcik engaged in misconduct when he searched a

        woman’s car, bags, and person without permission or a warrant and threatened to

        physically abuse her.

  t.    In December 1997, Defendant Wojcik engaged in misconduct when he searched

        two apartments without a warrant or permission while looking for a suspect.

  u.    In October 1998 a citizen filed a complaint with OPS reporting that Defendant

        Wojcik had struck an individual on the head with a shotgun during an arrest. The

        victim was treated at the hospital for a laceration to the head, which he told doctors

        was caused by being struck with the shotgun.

  v.    In October 1998, Defendant Wojcik engaged in misconduct when he entered and

        searched a residence without a warrant or authorization.

  w.    In August 1999, Defendant Wojcik engaged in misconduct when he, along with

        Defendants Guevara and Halvorsen, physically abused a citizen in their custody.

        Following the incident, the victim was examined by a Federal Bureau of Prisons

        physician’s assistant and was treated for bruises to the face, body, right wrist and

        both arms, and a contusion to the inner elbow and scalp.

  x.    In 2000, Defendant Wojcik engaged in misconduct when he was assigned to

        investigate allegations made against Defendant Guevara by a defendant named Juan



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        Hernandez. Mr. Hernandez had filed a complaint reporting that Defendant Guevara

        had framed him for a murder that he did not commit and had used improper line-

        up techniques in the process. Defendant Wojcik failed to properly investigation the

        allegations and instead covered up Defendant Guevara’s misconduct.

  y.    In April 2000, Defendant Wojcik engaged in misconduct when he entered and

        searched a residence without a warrant or permission and arrested an individual

        without probable cause.

  z.    In March 2001, Defendant Wojcik engaged in misconduct when he physically

        abused a suspect in custody. Defendant Wojcik slapped, punched, choked, and

        kicked the man. Defendant Wojcik further refused to allow him to speak to an

        attorney.

  aa.   In April 2001, Defendant Wojcik engaged in misconduct when he searched a

        woman’s residence without permission or a warrant and verbally abused her.

  bb.   In July 2001, Defendant Wojcik engaged in misconduct when he burst into 17-year-

        old Danny Ramirez’s bedroom and grabbed him by the hair” and pulled him from

        his bed. Defendant Wojcik was apparently looking for a suspect because he showed

        a photograph to Mr. Ramirez and demanded to know if the photo was of Mr.

        Ramirez or somebody else. Defendant Wojcik and others proceeded to search the

        apartment. Mr. Ramirez was later taken to Area 5 where other detectives threatened

        him.

  cc.   In July 2001, Defendant Wojcik engaged in misconduct when he searched an

        apartment without permission and stole $1400.

  dd.   In August 2001, Defendant Wojcik used physical force and threats to coerce a false



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        confession from Miguel Skerrett. Despite Skerrett’s repeated denials, Defendant

        Wojcik struck him, pushed his head up against the wall, called him a liar, punched

        him in the stomach, and kicked him in the back after he fell to the ground. Mr.

        Skerrett advised Defendant Wojcik that he was HIV-positive, that this made him

        particularly susceptible to pain, and that couldn’t sustain any more abuse.

        Defendant Wojcik then told Mr. Skerrett what to say and Mr. Skerrett provided a

        false confession.

  ee.   In August 2001, Defendant Wojcik and other detectives used physical force and

        threats to attempt to coerce a false confession from Phonakone Sangathit.

        Defendant Wojcik punched him several times in the chest, punched him in the back

        of the head, and grabbed him by the neck and choked him while slamming his head

        into a wall until Mr. Sangathit lost consciousness.

  ff.   In January 2002, Defendant Wojcik and others engaged in misconduct when they

        searched a residence without warrant or justification.

  gg.   In July 2003, Defendant Wojcik engaged in misconduct when he searched a home

        without a warrant or permission.

  hh.   In March 2004, Defendant Wojcik engaged in misconduct when he and another

        detective physically abused a man in custody.

  ii.   In June 2004, Defendant Wojcik engaged in misconduct when he filed false police

        reports to cover for the wrongful actions of officers who shot Seneca Smith.

  jj.   In July 2005, Defendant Wojcik engaged in misconduct when he and other officers

        arrested Ms. Yurus, who was placed unbuckled into the back of a police van and

        transported to the station. During the drive to the station, she was knocked out of



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        her seat and suffered a laceration to her face. Upon arrival at the station, her requests

        for medical attention were denied. Defendant Wojcik repeatedly promised Ms.

        Yurus that she would be released if she told the police what they wanted to hear.

        Defendant Wojcik threatened to lock Ms. Yurus up and charge her with murder for

        the unrelated death of her son. In July 2006, Defendant Wojcik and others engaged

        in misconduct when they searched a woman’s residence without justification or a

        warrant and damaged her property in the process.

  kk.   In December 2007, engaged in misconduct when he held a suspect for three days

        without charges before he was released. In response to a lawsuit filed against the

        City, OPS investigated eight officers including Defendant Wojcik, for their

        involvement in a wrongful conviction. The so-called “offender” alleged that, in

        October 1988, he was forced to sign a false confession following threats by

        Defendant Wojcik and others. (Ex. 19-60).

  ll.   In January 2009, Defendant Wojcik engaged in misconduct when he a refused to

        initiate a citizen complaint that officers pushed the victim, placed a foot on his back,

        put him in a chokehold, kicked him, punched him in the face, waved a pocketknife

        at him and threatened to cut him, pushed him down the stairs, and stomped on him.

  mm.   In July 2014, Defendant Wojcik and others engaged in misconduct when they

        searched a woman’s apartment without a warrant or justification.

  nn.   In October 2014, Defendant Wojcik engaged in misconduct when he approved

        police reports which later-released video revealed to be categorically false in the

        Laquan McDonald case where McDonald was shot to death by Chicago Police

        officer Jason Van Dyke. Defendant Wojcik was the “approving supervisor”



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              involved in the subsequent investigation. Defendant Wojcik refused to participate

              in the investigation or to comply with a subpoena for his testimony. This prompted

              the Inspector General to file a declaratory judgment action seeking to compel

              Defendant Wojcik’s compliance. The Inspector General further explained that

              Defendant Wojcik, through counsel, had repeatedly declined to state whether “he

              would invoke his Fifth Amendment rights against self-incrimination out of concern

              for possible criminal exposure in connection with his role in the McDonald

              investigation.” The United States Department of Justice specifically cited the false

              police reports Defendant Wojcik had approved as an example of what it called

              “highly troubling” procedures.

       159.   Defendant Wojcik received little discipline from the City of Chicago or the

Chicago Police Department for any of the conduct set out above.

                Defendant Guevara’s History of Framing Innocent Persons

       160.   As a result of the policies and practices of the Chicago Police Department,

described above, Defendant Guevara has framed dozens of other innocent men and women over

the span of two decades. Like Plaintiff, these men and women have lodged independent

accusations of similar misconduct against Defendant Guevara.

       161.   As of the filing of this complaint, 39 men and women have had their convictions

thrown out because of Defendant Guevara’s misconduct. They are Jacques Rivera, Juan Johnson,

Jose Montanez, Armando Serrano, Jorge Pacheco, Roberto Almodovar, William Negron, Jose

Maysonet, Angel Rodriguez, Santos Flores, Arturo DeLeon-Reyes, Gabriel Solache, Ariel

Gomez, Xavier Arcos, Ricardo Rodriguez, Robert Bouto, Thomas Sierra, Geraldo Iglesias,

Demetrius Johnson, David Gecht, Juan Hernandez, Rosendo Hernandez, Ray Munoz, David



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Lugo, Carlos Andino, Daniel Rodriguez, Jaime Rios, Jose Cruz, Marilyn Mulero, Nelson

Gonzalez, Johnny Flores, Adolfo Rosario, Eruby Abrego, Jeremiah Cain, Edwin Davila, Alfredo

Gonzalez, Gamalier Rivera, Madeline Mendoza, and John Martinez. These men and women

served hundreds of years in prison for crimes they did not commit.

       162.    Defendant Guevara has a long history of engaging in precisely the kind of

investigative misconduct that occurred in this case, including obtaining false eyewitness

identifications through manipulated identification procedures, manipulating witnesses,

fabricating evidence, suppressing exculpatory evidence, and coercing false confessions and false

statements from suspects and witnesses using physical and psychological violence, all in the

course of maliciously prosecuting innocent persons. In addition to the cases in which individuals

have been exonerated, there are dozens of other identified cases in which Defendant Guevara

engaged in serious investigative misconduct.

       163.    Given this extensive history of misconduct and the City of Chicago’s failure to

meaningfully supervise or discipline Guevara and others, it is apparent that Guevara engaged in

such misconduct because he had every reason to believe that the City of Chicago and its Police

Department condoned his behavior.

       164.    Repeatedly, Defendant Guevara has invoked his Fifth Amendment right to not

answer questions about allegations against him because truthful responses could subject him to

criminal liability. The allegations Defendant Guevara has refused to respond to include

allegations that he has manipulated dozens of witnesses to provide false identifications, he has

fabricated false evidence, he has suppressed exculpatory evidence, including documentary

evidence, he has tortured and abused suspects and witnesses and has coerced false statements

from them, as well as every single instance of misconduct detailed below.



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  165.   A few examples of Defendant Guevara’s misconduct include:

  a.     Bill Dorsch is a former Chicago police detective. While serving with the Chicago

         Police Department, Dorsch was assigned to investigate a murder. Several months

         after the murder occurred, Defendant Guevara brought to the police station two

         juveniles purporting to have witnessed a shooting and recorded the license place

         of the shooter. Based on the information provided, Detective Dorsch created a

         photo array for the juveniles in an attempt to identify the shooter. While the first

         juvenile was viewing the photo array, and before he identified any of the

         photographs, Defendant Guevara pointed to the suspect’s photo and told the

         juvenile “That’s him.” The juvenile then agreed with Guevara, identifying the

         flagged individual as the shooter. Following this, Dorsch directed Defendant

         Guevara to leave the room and had the other juvenile view the same photo array;

         this juvenile was unable to make any identification. Based on the first juvenile’s

         identification, the suspect was charged with murder. Subsequently, Dorsch spoke

         to the two juveniles outside of Defendant Guevara’s presence. The juveniles

         admitted that they were paid to falsely claim that the suspect was the person

         responsible for the shooting. After prosecutors spoke to the two juveniles, the

         suspect was released.

  b.     Defendant Guevara’s activities have drawn the interest of federal law enforcement

         officers. In 2001, the FBI authored a special report detailing the criminal activity

         of Chicago police officer Joseph Miedzianowski and his associates, including

         Defendant Guevara. The report details that Defendant Guevara, while acting in

         his capacity as a police officer, would apprehend drug and gun dealers and then



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        allow them to “buy their way of trouble.” According to the report, Guevara also

        took bribes to alter both positive and negative lineups of murder suspects. Finally,

        the report states that Guevara, using an attorney as a conduit, would receive cash

        in exchange for the ultimate dismissal of murder cases he investigated.

  c.    In 1989, Defendant Guevara coerced Samuel Perez into falsely identifying Juan

        Johnson as the person who killed Ricardo Fernandez. Defendant Guevara made

        Perez get inside his car, showed Perez a photo of Juan Johnson, and told Perez

        that he wanted Johnson to take the blame for the murder. Unsurprisingly, Perez

        went on to falsely identify Johnson as one of the murderers.

  d.    In 1989, Defendant Guevara also coerced Salvador Ortiz into making a false

        identification of Juan Johnson, which he later recanted.

  e.    Juan Johnson was exonerated and brought suit against Defendant Guevara. A

        federal jury found that Guevara framed Johnson for murder and awarded Johnson

        $21 million in damages.

  f.    In 1988, Defendant Guevara caused 12-year-old Orlando Lopez to falsely identify

        Jacques Rivera as the person who shot Felix Valentin. As a result, Rivera was

        convicted of the Valentin murder. In 2011, Lopez testified at an evidentiary

        hearing that he knew Rivera was the “wrong guy” when he made the

        identification. As a result, Rivera received a new trial. Ultimately, the State’s

        Attorney dropped all charges and Rivera was granted a certificate of innocence.

  g.    Also during the Felix Valentin shooting investigation, Defendant Guevara falsely

        claimed that the victim, Valentin, identified Jacques Rivera as his shooter before

        he died. Defendant Guevara reported to have obtained this identification at a time



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        when the victim was in a medically induced coma, unresponsive to any stimuli,

        and laying in a bed that was in constant motion to prevent his lungs from filling

        with fluid and killing him. Valentin could not possibly have provided the

        information that Defendant Guevara attributed to him.

  h.    After Jacques Rivera’s exoneration, he brought suit against Defendant Guevara. A

        federal jury found that Guevara had violated Rivera’s civil rights and awarded

        Rivera $17 million in damages, as well as $175,000 in punitive damages against

        Defendant Guevara, his partner Steve Gawrys, and his supervisor Ed Mingey.

  i.    In 1989, Defendant Guevara coerced Virgilio Muniz into making a false

        identification by repeatedly threatening Muniz, saying that if Muniz did not

        identify Manuel Rivera as the murderer, Muniz would “go down for the murder.”

  j.    In 1989, Defendant Guevara coerced Virgilio Calderon Muniz (unrelated to

        Virgilio Muniz, described in the above paragraph) into making a false

        identification by telling him who to identify and making a veiled threat as to what

        would happen if he did not comply.

  k.    In 1991, Defendant Guevara coerced Wilfredo Rosario into making a false

        identification and giving false testimony before the grand jury. Guevara

        threatened that if Rosario did not identify Xavier Arcos as the murderer, Rosario

        would be “pinned” for the murder. Guevara fed Rosario details of the crime, such

        as the number of shots fired, the type of vehicle used in the crime, and the

        participants in the crime. Rosario recanted his identification of Arcos at trial.

        Though Arcos was still found guilty of murder by a jury, the appellate court

        overturned the conviction based on the lack of sufficient evidence.



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  l.    In 1991, Defendant Guevara told Efrain and Julio Sanchez to pick David Colon

        out of a lineup. As a result, these men falsely accused Colon of committing a

        murder, but later came forward to recant and shed light on Defendant Guevara’s

        misconduct.

  m.    In 1993, Defendant Guevara coerced an identification from Carl Richmond with

        threats, saying that he could make Richmond’s life very uncomfortable if

        Richmond did not identify Robert Bouto as the murderer of one of Richmond’s

        friends. Richmond, who was familiar with Guevara’s tactics, believed that

        Guevara would honor this threat.

  n.    In 1995, Defendant Guevara arrested Edwin Davila and, in an attempt to coerce a

        confession, chained Davila to the wall of an interrogation room and told him that

        he was going to frame him for murder. After Davila maintained that he was

        uninvolved, Guevara forced Davila to participate in a lineup in which two

        witnesses identified Davila as the perpetrator, despite that each of those witnesses

        previously told the police that they had not been able to see the shooter.

  o.    In 1995, Defendant Guevara coerced Evelyn Diaz into making a false

        identification and providing false testimony to the Grand Jury by threatening Diaz

        that, if she did not identify Luis Serrano as the shooter, her children would be

        taken away by the Department of Children and Family Services.

  p.    In 1995, Defendant Guevara told Luis Figueroa to falsely identify Angel Diaz as

        the perpetrator even though Figueroa did not see anything. Figueroa identified

        Diaz but recanted his identification at trial.




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  q.    In 1995, Defendant Guevara coerced Gloria Ortiz Bordoy into making a false

        statement and testifying falsely against Santos Flores at trial. During Ortiz

        Bordoy’s six-to-eight hour interrogation, Guevara yelled in her face, threatened

        that her children would be taken by the Department of Children and Family

        Services, called her “the B word,” and “raised his hand,” saying that he “felt like

        smacking” her. Finally, without reading its contents, Ortiz Bordoy signed a

        statement that the detectives wrote out for her because she just wanted to “get out

        of there.”

  r.    In 1995, Defendant Guevara coerced Rodolfo Zaragoza, who was a victim and an

        eyewitness to a crime, into making a false identification and providing false

        testimony. Zaragoza was intimidated by Guevara and identified Ricardo

        Rodriguez as the offender because Guevara told him that Rodriguez was the

        shooter.

  s.    In 1995, Defendant Guevara told Jose Melendez to falsely identify Thomas Sierra

        as the shooter of Noel Andujar, even though Melendez had not seen the shooter

        and told Defendant Guevara as much. In addition, Defendant Guevara wrote false

        reports saying that Jose Melendez and Alberto Rodriguez had identified a car as

        the one used in the Andujar shooting, when in fact both men had told Defendant

        Guevara that the car in question was not the one used in the shooting.

  t.    In 1996, Defendant Guevara coerced Maria Rivera into making a false

        identification by unzipping his pants and propositioning her. Rivera later told the

        prosecutor that she had falsely identified an individual in a lineup at Guevara’s

        direction. The prosecution abandoned murder charges against that individual.



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  u.    In 1997, Defendant Guevara coerced Robert Ruiz into making a false

        identification. Guevara detained Ruiz repeatedly over the course of a ten-day

        period, locking him in an interrogation room without food, water, or a bathroom.

        Though Ruiz kept telling Guevara that he had not seen the shooter or the driver

        involved in the crime, Guevara told Ruiz whom to identify and what to say in his

        statement. Ruiz finally implicated Freddy and Concepcion Santiago in the murder

        because Ruiz believed that Guevara would continue to harass him until he

        changed his story. Ruiz recanted his identification at trial, and the judge found

        Freddy and Concepcion Santiago not guilty. The trial judge found it disturbing

        that Guevara was the lead detective in the case because the victim was Guevara’s

        nephew.

  v.    In November 2001, Defendant Guevara’s girlfriend, Judith Martinez, attended a

        trial in which Guevara was testifying and observed the testimony of trial

        witnesses. She then conferred with Guevara, even though the Court had ordered

        for all witnesses to be excluded from the courtroom to prevent witness collusion.

  w.    In 2011, the First District Appellate Court granted Tony Gonzalez a post-

        conviction hearing based on evidence that Defendant Guevara conducted an

        unduly suggestive lineup. In this instance, Guevara had concocted a photo array in

        which Gonzalez’s photo was the only one that stood out from the rest.

  x.    In 1982, Defendant Guevara and another officer arrested and physically assaulted

        Annie Turner for smoking on a bus. Guevara called her a “bitch” and pushed her

        out of the back door of the bus. He twisted her arm, threatened to “snap” it, and

        handcuffed her so tightly that her skin broke. He also hit her across the face with a



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        metal bracelet he was wearing and called her a “nigger bitch.” Turner sought

        medical treatment and filed a complaint with the Chicago Police Department’s

        Office of Professional Standards (OPS).

  y.    In 1982, Defendant Guevara and three other officers broke through Almarie

        Lloyd’s locked front door and conducted a warrantless search of her home. When

        Lloyd asked who they were, she was told to shut up. The officers terrified Lloyd,

        her brother, and her two children, and left the home in shambles. Lloyd filed a

        complaint with OPS the next day.

  z.    In 1983, Defendant Guevara and other officers forcibly removed Leshurn Hunt

        from his home and handcuffed him to a ring in the wall at the police station where

        he was beaten about the head, face, and body until he confessed to murder and

        robbery charges. Hunt was detained for approximately 23 hours and deprived of

        food, water, and sleep until after he confessed. Hunt sought medical treatment for

        his injuries and filed a complaint with the Office of Professional Standards.

        Witnesses who saw Hunt while in custody corroborated his claims that the Area

        Five police beat him. The criminal court judge suppressed Hunt’s confession, and

        a jury returned a favorable verdict in a related civil rights action against the City

        of Chicago on Hunt’s claim of excessive detention.

  aa.   In 1984, Defendant Guevara and other officers physically assaulted Graciela

        Flores and her 13-year old sister, Ana, during a search of their home. During the

        search, officers did not identify themselves as police. Guevara repeatedly slapped

        Graciela, called her a “bitch,” and pulled her hair. As a result of this incident,

        Graciela’s arm was put in a sling and she spent one week in the hospital.



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  bb.   In 1985, Defendant Guevara attempted to coerce a false statement from Reynaldo

        Munoz. Guevara handcuffed Munoz and put him in the back of a squad car. When

        Munoz denied any knowledge of the incident Guevara was asking about, Guevara

        repeatedly hit him in the mouth with his fist. Guevara then took Munoz to rival

        gang territory where he allowed rival gang members to spit on Munoz and beat

        Munoz about the head.

  cc.   In 1986, Defendant Guevara threw Rafael Garcia against a car, struck him in the

        face several times, kicked him, and hit him in the head. Garcia filed a complaint

        with OPS. Although Guevara denied the charges, Garcia’s complaints were

        corroborated by physical evidence, as Garcia was treated at the hospital for

        lacerations to the head. After an investigation into the incident, OPS found that

        Guevara had lied about the incident and recommended that Guevara be suspended

        for two days.

  dd.   In 1986, Defendant Guevara and two other officers coerced a confession from

        Daniel Pena by beating him about the face and ribs with their hands and about the

        groin and thighs with flashlights. Pena was taken to see a doctor where he

        complained about being beaten by the police. The doctor found bruising to Pena’s

        legs and abrasions and lacerations to Pena’s nose. Family members corroborated

        Pena’s claims that he had been beaten while in police custody.

  ee.   In 1986, Defendant Guevara pulled over Melvin Warren because Warren cut him

        off while driving westbound on Augusta Boulevard. Guevara called Warren a

        “nigger dog” and “threatened to tear [Warren’s] head off.” Guevara hit Warren in

        the face with a closed fist and then forced him down into the front seat of his car



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        and began to choke him. Two eyewitnesses confirmed that Guevara initiated the

        beating. In response to this incident, Warren sought medical treatment and filed a

        complaint with OPS. OPS sustained Warren’s allegations that Guevara had

        physically and verbally assaulted him and recommended that Guevara be

        reprimanded.

  ff.   In 1989, Defendant Guevara coerced a false confession from Victor Vera by

        transporting him to rival gang territory and threatening to release him unless he

        confessed to the murder of Edwin Castaneda. Fearing for his life, Vera agreed to

        falsely confess to a crime that he had nothing to do with.

  gg.   In 1991, Defendant Guevara coerced David Rivera into signing a confession for

        murder by intimidation, threats, and inducements. Guevara told Rivera that if he

        confessed, he would serve seven years in prison; if he did not confess, he would

        be sent away for fifty years. Guevara then promised Rivera that if signed a

        statement, he could go home.

  hh.   In 1992, Defendant Guevara engaged in misconduct when he interrogated

        Jacqueline Montanez without a youth officer present. The appellate court reversed

        and remanded Ms. Montanez’s conviction for murder, nothing that “not only was

        the defendant interrogated before having an opportunity to confer with a

        concerned adult, but, worse, any opportunity to do so was effectively frustrated by

        police.”

  ii.   In 1993, Defendant Guevara arrested 15-year-old Eliezar Cruzado and threatened

        him with life imprisonment if Cruzado did not make a statement implicating

        himself in a murder. Guevara also told Cruzado that he could go home and see his



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        family again, but only if he agreed to make a statement. At the time, Cruzado had

        a limited ability to read and write.

  jj.   In 1993, Defendant Guevara used physical force and threats to coerce a false

        confession from Adolfo Frias-Munoz. Over the course of the two-day

        interrogation, Frias-Munoz was handcuffed to a ring on the wall of the

        interrogation room, hit in the face with an open hand by Defendant Guevara, and

        beaten by two other officers. Though isolated in a locked interrogation room,

        Frias-Munoz could hear his wife screaming and his son crying in another room.

        Guevara threatened Frias-Munoz that if he did not confess, his wife would go to

        prison and his children would be taken away. Frias-Munoz, who did not speak

        English, agreed to give a statement to an Assistant State’s Attorney. Frias-Munoz

        spoke in Spanish and Guevara translated the statement so that the prosecutor

        could write the statement in English. Frias-Munoz then signed a statement that he

        could not read.

  kk.   In 1993, Defendant Guevara physically abused and threatened Francisco Vicente

        into providing false statements implicating Geraldo Iglesias in a murder. Vicente

        claimed that Iglesias spontaneously confessed to him that he was guilty of the

        crime for which Guevara had arrested him. Vicente has since testified that his

        statements were false and that Defendant Guevara and his colleagues beat him,

        threatened him, and fed him facts to ensure that he told their story.

  ll.   In 1994, Defendant Guevara, after 14 hours of interrogation, coerced a confession

        from Adrian Duta by hitting him in the face with an open palm, punching him in

        the stomach, and telling him he could go home if he signed a statement. When



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        Duta’s father came to see Duta at the station house, Duta was exhausted and

        crying. Duta repeatedly said that he did not know what he had signed and had

        only signed the document so he could go home. Duta complained to his father of

        being struck in the head and stomach by Guevara.

  mm.   In 1995, Defendants Guevara and Halvorsen coerced a confession from 17-year-

        old Santos Flores after handcuffing him to the wall of a locked interview room

        and refusing his requests for an attorney. During the course of the 11-hour

        interrogation, Guevara yelled at him, slapped him numerous times on the side of

        his head, and told him that, if he did not confess, he would never see the light of

        day. Flores eventually gave a statement to the police indicating his involvement in

        the crime. Flores’ statement was ruled inadmissible on appeal on the grounds that

        it was elicited in violation of Miranda.

  nn.   In 1997, Defendant Guevara coerced a false confession from Voytek Dembski by

        beating him while he was chained to a wall in a locked interrogation room.

        Dembski, a Polish national who did not speak English, was interrogated by

        Guevara without Miranda warnings, without notification to the Polish consulate,

        and without a Polish language interpreter. Dembski could not read the statement

        he eventually signed as it was written in English.

  oo.   In 1997, Defendant Guevara used threats and physical force against Ariel Gomez,

        Paul Yalda, and several of their co-defendants to try to get them to sign false

        statements incriminating Gomez in the shooting of Concepcion Diaz. Guevara

        also used pressure and threats to try to force three eyewitnesses, Ruth Antonetty,




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        Debbie Daniels and Maria Castro, to falsely identify Ariel Gomez as the shooter

        even after they informed Guevara that they could not identify him as the shooter.

  pp.   In 1998, Defendant Guevara repeatedly hit Rosauro Mejia in an attempt to coerce

        a confession from him. Mejia never confessed and was finally released after being

        held in custody for three days.

  qq.   In 1998, Defendant Guevara repeatedly pulled Adriana Mejia’s hair and struck

        her once on the back of her neck while she was interrogated. She asserts that

        Guevara never took an accurate statement from her, despite that she did have real

        knowledge of the crime he was questioning her about.

  rr.   In 1998, Defendant Guevara repeatedly threatened and beat Arturo DeLeon-Reyes

        in order to coerce DeLeon-Reyes into giving an incriminating statement. After

        two days of isolation and interrogation, DeLeon-Reyes provided a false statement

        implicating himself in a murder in which he was not involved.

  ss.   In 1998, Defendant Guevara repeatedly struck Gabriel Solache on the left side of

        his head and in the stomach while Solache was chained to the wall of a locked

        interrogation room. After 40 hours of interrogation, Solache gave a false

        statement so that the beating would stop. Solache sought medical treatment and

        sustained permanent hearing loss to his left ear.

  tt.   In 1999, Defendant Guevara and his colleagues repeatedly punched David Gecht

        in the stomach and back and struck him during an interrogation. After this

        prolonged abuse, Gecht told Guevara and the other officers he would do

        “whatever they wanted,” and adopted a fabricated statement, fed to him by

        Guevara, confessing to a shooting of which he had no knowledge.



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       uu.     In addition, Guevara threatened Gecht’s girlfriend, Colleen Miller, telling her that

               she would be arrested and that the child she was expecting would be born in

               prison and then taken from her if she did not cooperate with them. Guevara used

               Miller’s fear for herself and her unborn child to extract a fabricated statement

               from her implicating Gecht in the shooting.

       vv.     In 1991, Defendant Guevara framed Demetrius Johnson for killing Edwin Fred.

               Guevara suppressed a lineup report documenting that a key eyewitness had

               identified a different person as the perpetrator in a lineup, and he fabricated a

               false police report to make it appear as if that identification had never occurred. In

               addition, to support his case against Johnson, Guevara manipulated and fabricated

               eyewitness identifications of Johnson as the shooter from witnesses Rosa Burgos,

               Ricardo Burgos, and Elba Burgos.

       166.    Defendant Guevara never received discipline from the City of Chicago or the

Chicago Police Department for any of the conduct set out above.

       167.    In fact, the City of Chicago failed to supervise or discipline its police officers,

including Defendants Guevara, Wojcik, and the other Defendants. Defendants engaged in the

misconduct set forth in this complaint because they knew that the City of Chicago and its Police

Department tolerated and condoned such conduct.

                                           COUNT I
                                 42 U.S.C. § 1983 – Due Process
                                   (Fourteenth Amendment)

       168.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       169.    As described in detail above, the Police Officer Defendants, while acting

individually, jointly, and in conspiracy with one another, as well as under color of law and within


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the scope of their employment, deprived Plaintiff of his constitutional right to a fair trial and his

right not to be wrongfully convicted and imprisoned.

       170.    In the manner described more fully above, the Police Officer Defendants

fabricated witness statements falsely implicating Plaintiff in the crime.

       171.    The Police Officer Defendants knew this evidence was false.

       172.    The Police Officer Defendants obtained Plaintiff’s conviction using this false

evidence, and they failed to correct fabricated evidence that they knew to be false when it was

used against Plaintiff during his criminal case.

       173.    In addition, the Police Officer Defendants deliberately withheld exculpatory

evidence from state prosecutors, Plaintiff, and Plaintiff’s criminal defense attorneys, including

evidence that that Defendants had manufactured false identifications of Plaintiff, thereby

misleading and misdirecting the criminal prosecution of Plaintiff.

       174.    In addition, based upon information and belief, the Police Officer Defendants

concealed, fabricated, and destroyed additional evidence that is not yet known to Plaintiff.

       175.    The [Police Officer Defendants’ misconduct resulted in the unjust and wrongful

criminal prosecution and conviction of Plaintiff and the deprivation of Plaintiff’s liberty, thereby

denying his constitutional right to a fair trial guaranteed by the Fourteenth Amendment. Absent

this misconduct, the prosecution of Plaintiff could not have and would not have been pursued.

       176.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       177.    As a result of the Police Officer Defendants’ misconduct described in this Count,

Plaintiff suffered loss of liberty, great mental anguish, humiliation, degradation, physical and




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emotional pain and suffering, forced and involuntary prison labor, and other grievous and

continuing injuries and damages as set forth above.

       178.    The misconduct described in this Count was undertaken pursuant to the policies

and practices of the City of Chicago and the Chicago Police Department, in the manner more

fully described below in Count VI.

                                          COUNT II
                       42 U.S.C. § 1983 – Coerced and False Confession
                             (Fifth and Fourteenth Amendments)

       179.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       180.    In the manner described more fully above, the Police Officer Defendants and the

Prosecutor Defendant, acting as investigators and without probable cause to suspect Plaintiff of

any crime, individually, jointly, and in conspiracy with one another, and others unknown, as well

as under color of law and within the scope of their employment, forced Plaintiff to make false

statements involuntarily and against his will, which incriminated him and which were used

against him in criminal proceedings, in violation of his rights secured by the Fifth and Fourteenth

Amendments.

       181.    In addition, the Police Officer Defendants and the Prosecutor Defendant, acting as

investigators and without probable cause to suspect Plaintiff of any crime, individually, jointly,

and in conspiracy with one another, as well as under color of law and within the scope of their

employment, used physical violence and extreme psychological coercion in order to force

Plaintiff to incriminate himself falsely and against his will in a crime he had not committed, in

violation of his right to due process secured by the Fourteenth Amendment. This misconduct was

so severe as to shock the conscience, it was designed to injure Plaintiff, and it was not supported

by any conceivable governmental interest.



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        182.    In addition, the Police Officer Defendants and the Prosecutor Defendant, acting as

investigators and without probable cause to suspect Plaintiff of any crime, individually, jointly,

and in conspiracy with one another, as well as under color of law and within the scope of their

employment, fabricated a false confession, which was attributed to Plaintiff and used against

Plaintiff in his criminal proceedings, in violation of Plaintiff’s right to a fair trial protected by the

Fourteenth Amendment.

        183.    Specifically, these Defendants conducted, participated in, encouraged, advised,

and ordered an unconstitutional interrogation of Plaintiff, using physical violence and

psychological coercion, which overbore Plaintiff’s will and resulting in him making involuntary

statements implicating himself in the murder of Jose Garcia and shooting of Julio Lugo.

        184.    Those false incriminating statements were wholly fabricated by these Defendants

and attributed to Plaintiff. Those false incriminating statements were used against Plaintiff to his

detriment throughout his criminal case. They were the reason that Plaintiff was prosecuted and

convicted.

        185.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

        186.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

        187.    The misconduct described in this Count by the Police Officer Defendants was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.

                                         COUNT III
               42 U.S.C. § 1983 – Malicious Prosecution and Unlawful Detention

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                             (Fourth and Fourteenth Amendments)

       188.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       189.    In the manner described above, the Police Officer Defendants and the Prosecutor

Defendant, acting as investigators and without probable cause to suspect Plaintiff of any crime,

individually, jointly, and in conspiracy with one another, as well as under color of law and within

the scope of their employment, accused Plaintiff of criminal activity and exerted influence to

initiate, continue, and perpetuate judicial proceedings against Plaintiff without any probable

cause for doing so and in spite of the fact that they knew Plaintiff was innocent, in violation of

his rights secured by the Fourth and Fourteenth Amendments.

       190.    In so doing, these Defendants maliciously prosecuted Plaintiff and caused

Plaintiff to be deprived of his liberty without probable cause and to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       191.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       192.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

       193.    The misconduct described in this Count by the Police Officer Defendants was

undertaken pursuant to the policies and practices of the City of Chicago and the Chicago Police

Department, in the manner more fully described below in Count VI.

                                           COUNT IV
                             42 U.S.C. § 1983 – Failure to Intervene

       194.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

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        195.    In the manner described above, during the constitutional violations described

herein, one or more of the Police Officer Defendants or the Prosecutor Defendant stood by

without intervening to prevent the violation of Plaintiff’s constitutional rights, even though they

had the duty and the opportunity to do so.

        196.    These Defendants had ample, reasonable opportunities as well as the duty to

prevent this harm but failed to do so.

        197.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

        198.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

        199.    The misconduct described in this Count by the Police Officer Defendants was

undertaken pursuant to the policies and practices of the City of Chicago and the Chicago Police

Department, in the manner more fully described below in Count VI.

                                         COUNT V
                42 U.S.C. § 1983 – Conspiracy to Violate Constitutional Rights

        200.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        201.    In the manner described more fully above, the Police Officer Defendants, acting

in concert with other co-conspirators, known and unknown, reached an agreement among

themselves to fabricate evidence, suppress evidence, and coerce statements, to detain, prosecute,

and convict Plaintiff, without regard for Plaintiff’s guilt or innocence, and thereby to deprive him

of his constitutional rights.




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       202.    In so doing, these co-conspirators agreed to accomplish an unlawful purpose by

an unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

       203.    In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

       204.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       205.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

       206.    The misconduct described in this Count was undertaken pursuant to the policies

and practices of the City of Chicago and the Chicago Police Department, in the manner more

fully described below in Count VI.

                                        COUNT VI
          42 U.S.C. § 1983 – Policy and Practice Claim against the City of Chicago

       207.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       208.    As described in detail above, the City of Chicago is liable for the violation of

Plaintiff’s constitutional rights because Plaintiff’s injuries were caused by the policies, practices,

and customs of the City of Chicago, as well as by the actions of policy-making officials for the

City of Chicago.

       209.    At all times relevant to the events described in this complaint and for a period of

time prior and subsequent thereto, the City of Chicago failed to promulgate proper or adequate

rules, regulations, policies, and procedures for: conducting photographic and live lineup

procedures by officers and agents of the Chicago Police Department and City of Chicago; the

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conduct of interrogations and questioning of criminal suspects; the collection, documentation,

preservation, testing, and disclosure of evidence; the writing of police reports and taking of

investigative notes; obtaining statements and testimony from witnesses; and maintenance of

investigative files and disclosure of those files in criminal proceedings. In addition, or

alternatively, the City of Chicago failed to promulgate proper and adequate rules, regulations,

policies, and procedures for the training and supervision of officers and agents of the Chicago

Police Department and the City of Chicago, with respect to these subjects.

       210.    These failures to promulgate proper or adequate rules, regulations, policies, and

procedures were committed by officers and agents of the Chicago Police Department and the

City of Chicago, including the Defendants.

       211.    In addition, at all times relevant to the events described in this complaint and for a

period of time prior thereto, the City of Chicago had notice of a widespread practice and custom

by officers and agents of the Chicago Police Department and the City of Chicago under which

individuals suspected of criminal activity, such as Plaintiff, were routinely deprived of their right

to due process. For instance, it was common that suspects were prosecuted based on fabricated

evidence, including fabricated eyewitness identifications and eyewitness identifications obtained

using manipulated photographic or live lineup procedures.

       212.    Specifically, at all relevant times and for a period of time prior thereto, there

existed a widespread practice and custom among officers, employees, and agents of the City of

Chicago, under which criminal suspects were which criminal suspects were coerced to

involuntarily implicate themselves by various means, including but not limited to one or more of

the following: (1) individuals were subjected to unreasonably long and uninterrupted

interrogations, often lasting for many hours and even days; (2) individuals were subjected to



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actual and threatened physical or psychological violence; (3) individuals were interrogated at

length without proper protection of their constitutional right to remain silent; (4) individuals

were forced to sign or assent to oral and written statements fabricated by the police; (5) officers

and employees were permitted to lead or participate in interrogations without proper training and

without knowledge of the safeguards necessary to ensure that individuals were not subjected to

abusive conditions and did not confess involuntarily and/or falsely; and (6) supervisors with

knowledge of permissible and impermissible interrogation techniques did not properly supervise

or discipline police officers and employees such that the coercive interrogations continued

unchecked.

       213.    In addition, at all times relevant to the events described in this complaint and for a

period of time prior thereto, the City of Chicago had notice of widespread practices by officers

and agents of the Chicago Police Department and the City of Chicago, which included one or

more of the following: (1) officers did not record investigative information in police reports, did

not maintain proper investigative files, or did not disclose investigative materials to prosecutors

and criminal defendants; (2) officers falsified statements and testimony of witnesses; (3) officers

fabricated false evidence implicating criminal defendants in criminal conduct; (4) officers failed

to maintain or preserve evidence or destroyed evidence; and (5) officers pursued wrongful

convictions through profoundly flawed investigations.

       214.    These widespread practices, individually and together, were allowed to flourish

because the leaders, supervisors, and policymakers of the City of Chicago directly encouraged

and were thereby the moving force behind the very type of misconduct at issue by failing to

adequately train, supervise, and control their officers, agents, and employees on proper




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interrogation techniques and by failing to adequately punish and discipline prior instances of

similar misconduct, thus directly encouraging future abuses such as those affecting Plaintiff.

       215.    The above widespread practices and customs, so well settled as to constitute de

facto policies of the City of Chicago, were able to exist and thrive, individually and together,

because policymakers with authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

       216.    As a result of the policies and practices of the City of Chicago, numerous

individuals have been wrongly convicted of crimes that they did not commit.

       217.    In addition, the misconduct described in this Count was undertaken pursuant to

the policies and practices of the City of Chicago in that the constitutional violations committed

against Plaintiff were committed with the knowledge or approval of persons with final

policymaking authority for the City of Chicago or were actually committed by persons with such

final policymaking authority.

       218.    Plaintiff’s injuries were directly and proximately caused by officers, agents, and

employees of the City of Chicago, including but not limited to the individually named

Defendants, who acted pursuant to one or more of the policies, practices, and customs set forth

above in engaging in the misconduct described in this Count.

                                        COUNT VII
                           State Law Claim – Malicious Prosecution

       219.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       220.    In the manner described above, the Police Officer Defendants and the Prosecutor

Defendant, acting as investigators and without probable cause to suspect Plaintiff of any crime,

individually, jointly, and in conspiracy with one another, as well as within the scope of their

employment, accused Plaintiff of criminal activity and exerted influence to initiate and to

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continue and perpetuate judicial proceedings against Plaintiff without any probable cause for

doing so.

       221.    In so doing, these Defendants caused Plaintiff to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       222.    The judicial proceedings were terminated in Plaintiff’s favor and in a manner

indicative of his innocence when his conviction was vacated and charges against him were

dropped in July 2022.

       223.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, and in total disregard of the truth and Plaintiff’s clear

innocence.

       224.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                       COUNT VIII
                State Law Claim – Intentional Infliction of Emotional Distress

       225.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       226.    The actions, omissions, and conduct of the Police Officer Defendants and the

Prosecutor Defendant as set forth above were extreme and outrageous. These actions were rooted

in an abuse of power and authority and were undertaken with the intent to cause, or were in

reckless disregard of the probability that their conduct would cause, severe emotional distress to

Plaintiff, as is more fully alleged above.




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          227.   As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                          COUNT IX
                         State Law Claim – Willful and Wanton Conduct

          228.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          229.   At all times relevant to this complaint the Police Officer Defendants and the

Prosecutor Defendant had a duty to refrain from willful and wanton conduct.

          230.   Notwithstanding that duty, these Defendants acted willfully and wantonly through

a course of conduct that showed an utter indifference to, or conscious disregard of, Plaintiff’s

rights.

          231.   As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                           COUNT X
                                State Law Claim – Civil Conspiracy

          232.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          233.   As described more fully in the preceding paragraphs, the Police Officer

Defendants, acting in concert with other co-conspirators, known and unknown, reached an

agreement among themselves to frame Plaintiff for a crime he did not commit and conspired by

concerted action to accomplish an unlawful purpose and/or to achieve a lawful purpose by

unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.




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          234.   In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

          235.   The violations of Illinois law described in this complaint, including Defendants’

malicious prosecution of Plaintiff and their intentional infliction of emotional distress, were

accomplished by Defendants’ conspiracy.

          236.   The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

          237.   As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                          COUNT XI
                             State Law Claim – Respondeat Superior

          238.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          239.   While committing the misconduct alleged in the preceding paragraphs, the

Defendants were employees, members, and agents of the City of Chicago, acting at all relevant

times within the scope of their employment.

          240.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.




                                          COUNT XII
                                State Law Claim – Indemnification

          241.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.




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        242.   Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        243.   The Police Officer Defendants were employees, members, and agents of

Defendant City of Chicago, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.

        244.   Defendant City of Chicago is responsible to pay any judgment entered against the

Police Officer Defendants.

        245.   The Prosecutor Defendant was an employee, member, and agent of Defendant

Cook County, acting at all relevant times within the scope of their employment in committing the

misconduct described herein.

        246.   Defendant Cook County is responsible to pay any judgment entered against the

Prosecutor Defendant.

        WHEREFORE, Plaintiff ERUBY ABREGO, respectfully requests that this Court enter a

judgment in his favor and against Defendants JEROME BOUGUCKI, FRANK CAPITELLI,

DANIEL ENGEL, REYNALDO GUEVARA, GERI LYNN YANOW, as special administrator

of the ESTATE OF ERNEST HALVORSEN, ANTHONY WOJCIK, RAY SCHALK, the CITY

OF CHICAGO, ANDREANA TURANO MICHIELS, and COOK COUNTY, awarding

compensatory damages, attorneys’ fees, and costs against each Defendant, punitive damages

against each of the Individual Defendants, and any other relief that this Court deems just and

appropriate.




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                                         JURY DEMAND

       Plaintiff, ERUBY ABREGO, hereby demands a trial by jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.

                                                       ERUBY ABREGO

                                              BY:      s/ Steve Art

                                                       One of Plaintiff’s Attorneys

                                                       Jon Loevy
                                                       Anand Swaminathan
                                                       Steve Art
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